                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


FAYETTEVILLE PUBLIC                                                          PLAINTIFFS
LIBRARY, et al.

                                       NO. 5:23-cv-5086
        v.

                                                                             DEFENDANTS
CRAWFORD COUNTY,
ARKANSAS, et al.


                           DECLARATION OF NATE COULTER

      I, Nate Coulter, hereby declare under penalty of perjury as prescribed in 28 U.S.C. § 1746:

       1.     The facts contained in this declaration are based on my personal knowledge and I

can testify competently to them if called upon to do so. I submit this sworn declaration in support

of Plaintiffs’ motion for a preliminary injunction.

       2.     I am a member of the Arkansas and American Library Associations. I hold an A.B.

in history from Harvard University, a J.D. from Harvard Law School, and a master’s degree in

Library & Information Science from the University of Wisconsin-Milwaukee. I have been a

member of the Arkansas bar continuously since 1985.

       3.     I live in Pulaski County, Arkansas and have worked as the Executive Director of

the Central Arkansas Library System (“CALS”) since 2016. In my capacity as the Executive

Director of CALS, I report to the CALS board. I prepare an annual budget for their consideration.

I oversee the staff who plan and execute the day-to-day delivery of library services available in

our fourteen branches and online. As its chief executive officer, I am primarily responsible for

ensuring that CALS complies with applicable federal and state laws, including Act 372.

       4.     CALS, as it is currently configured, was created in 1998 as a public body by an

intergovernmental agreement among the City of Little Rock, Pulaski County, Perry County, the
City of Jacksonville, the City of Sherwood, and the City of Maumelle. It is the largest public

library system in the state and now includes fourteen branches. Almost 350,000 Arkansans live

in the CALS’s service area which represents about 11% of the state’s population.

       5.     Under my supervision, CALS maintains a collection of approximately 800,000

items, which have been acquired and are displayed in keeping with best practices for public library

administration and within the physical constraints of the facilities maintained by CALS. The items

in CALS’s collection are principally displayed in library facilities with open floor plans on

bookshelves that are logically arranged by genre and reading ability, such that a reader can quickly

find the item they are looking for or, alternatively, browse through and consider materials that

match their interests and comprehension levels. This setup is typical for other libraries that I have

seen and visited in Arkansas.

       6.     From my training and professional experience, I am familiar with the best practices

that should govern a public library’s acquisition and display of materials in its collection, which

call for public libraries to make available the widest diversity of views and expressions, including

those that are unorthodox, unpopular, or considered inappropriate or dangerous by the majority.

       7.     As a matter of CALS Board Policy, I am obligated to oversee the collection of a

diverse set of materials. Specifically, Board Policy #300 provides that CALS seeks to “[m]ake

available a wide diversity of points of view, subjects, opinions, and modes of expression,

reflecting the diversity of the community and world we inhabit, and the diversity of reader tastes

and interests. No library material will be excluded because of the race, nationality, sex, or the

political, social, or religious views of its author or its intended audience.” A true and correct copy

of Board Policy #300 as currently in effect is attached hereto as Exhibit A.

       8.     It is my belief that some of the items in CALS’s collection, though constitutionally

protected, and compatible with our board policy, could be deemed harmful to or inappropriate for
     minors and therefore subject to the criminal penalties in Section 1 of Act 372 of 2023 or a

     challenge under Section 5 of Act 372. For instance, I know that CALS has in its collection art and

     medical books that depict nudity. And I know that CALS has books that appear on lists of books

     considered objectionable by various groups and individuals, such as all ten of the American

     Library Association’s Most Challenged Books of 2023.1 Although these books have scientific,

     medical, and/or artistic value for adults and many older minors, some people could conceivably

     consider them harmful to younger (or even older) minors.

             9.     While these constitutionally protected but conceivably “harmful to minors” books

     are not shelved in the children’s sections of our 14 libraries, at present these books are not

     physically and securely segregated and could be viewed by CALS patrons as young as 11, who

     are currently allowed to be in the library without an adult chaperone. CALS maintains this policy

     to support children’s access to reading material and to foster a love for reading. Visitors who are

     younger than 11 years old must be accompanied by someone 16 or older to enter CALS facilities

     under Rule 20 of the board-approved Rules of Conduct. A true and correct copy of Board Policy

     #400 (“Rules of Conduct”) is attached hereto as Exhibit B.

             10.    Across the system CALS currently does not have any rooms in which materials

     could be segregated and kept physically secure from younger readers that are not presently being

     used for some other purpose, such as a community meeting space. And constructing new, secure

     spaces within our various libraries is not a viable option for CALS.

             11.    Unless we bar all minors from entering our libraries we would have to track the

     movements of each of them to be sure they did not encounter books that might be inappropriate

     or harmful to younger minors. The additional staff time that would be necessary to monitor the




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    https://www.ala.org/advocacy/bbooks/frequentlychallengedbooks/top10
collection to ensure that minors do not enter the main CALS collection would, on its own, increase

CALS’s annual salary and benefit expenses by an estimated 11.7%, or $1.86 million. CALS does

not have the budget to accommodate those expenses.

        12.   CALS does not have enough staff to review quickly and efficiently every item in

the collection to determine whether that item might subsequently be deemed harmful to a younger

minor by a prosecutor, or challenged as inappropriate, and therefore must be placed in the

segregated adults only room. That level of review would, at a minimum, require the staff to review

each item in CALS’s collection closely enough to understand the content of the item and context

in which that content is presented to the reader or viewer. For a collection the size of ours that is

constantly being added to and weeded by staff, we might need an entire department of employees

charged with screening materials to be sure they are okay to place in the general section of the

libraries.

        13.   In addition to CALS’s limited staff, CALS also provides employment and

internship opportunities for minors. These positions are essential to the library’s ability to provide

services and meet the needs of library users. They also provide an important opportunity for

students who are passionate about books to learn about how a library works and gain practical

skills. To effectively participate in library work, our 16- and 17-year-old interns and employees

must be able to access CALS’s entire collection of materials. If their access is restricted to only

those materials that are suitable for CALS’s youngest readers, these interns and employees will

be unable to either provide assistance to many of CALS’s patrons or ensure that materials are

properly re-shelved.

        14.   For all of these reasons, I do not believe that CALS is in a position to make the

drastic and prohibitively expensive changes to its floor plan and operating procedures that appear

to be necessary to segregate all potentially covered materials in the collection and to otherwise
comply with Act 372.

        15.    Moreover, even if CALS were in a position to change its physical layout to

accommodate a dedicated space for segregated materials, doing so would deprive readers of

access to information to which they are entitled, because such books would be harder to find and

would require patrons to seek them out in a stigmatized “adults-only” area. For instance, the

segregation of materials necessary to comply with Act 372 might, in some cases, require CALS

to separate books within a series, which would be confusing for patrons and not in keeping with

library best practices.

        16.    Because compliance with Act 372 will be difficult to accomplish for CALS, I am

concerned that I could be criminally charged for simply doing my job and trying to make books

available to all of CALS’s readers, including both its youngest minor readers and more mature

readers, that will be interesting, engaging, and well-matched to a reader’s abilities and level of

comprehension.

       17.     I will be irreparably harmed if I face criminal penalties, including up to a year in

prison, for simply doing my job. Moreover, the hardship of a prison sentence would fall not only

on me, but also on my family.

       18.     Even if I, or others at CALS, are not charged with a crime, I expect that CALS will

be regularly burdened by challenges made under the Section 5 of Act 372.

       19.     CALS currently has a process through which patrons can request reconsideration

of materials in the library’s collection. This process has worked well for CALS and allows the

library to be responsive to the feedback of its readers, including negative feedback, while not

unduly burdening CALS staff or permitting the views of a few to shape what is available in our

collection for the many thousands of patrons we serve. A true and correct copy of Board Policy

#301 (“Reconsideration of Library Materials”) is attached hereto as Exhibit C.
           20.    Through this process, we have received requests to remove materials dealing with

    teenage suicide, nudity, and sexual activity. I expect that those same books, as well as others

    dealing with similar themes, will be challenged repeatedly under Act 372.

            21.   Unfortunately, it is my belief that our current processes will need to be substantially

    changed in order to comply with Act 372. For instance, our current process requires the person

    challenging materials to be a resident of the CALS service area. Act 372 allows “person affected”

    by a material to challenge it. This opens the door to unlimited challenges being submitted by

    individuals who are not CALS library users or even taxpayers living within our service area. This

    is not a hypothetical concern—recent reporting from the Washington Post showed that over 1,000

    of the book challenges they analyzed were submitted by just 11 people. 2 Under Act 372 those

    same 11 people could challenge materials in libraries across Arkansas and create enormous

    burdens for our staff.

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on this 15th day of May, 2024.


                                                                             /s/ Nate Coulter
                                                                             Nate Coulter




2
 Hannah Natanson, Objection to sexual, LGBTQ content propels spike in book challenges, Washington Post (May 23,
2023), https://wapo.st/43YJ1CJ.
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